                         341 Meetings Results - May 20, 2020

Case #      Name                 Hrg Result
20-01333    CURRY                CONT 5-27-2020 9:30 AM
20-01334    POWE                 CONT 5-27-2020 9:30 AM
20-01335    KIMBLE               CONT 5-27-2020 9:30 AM
20-01364    LOVE                 CONT 5-27-2020 9:30 AM
20-01378    LEE                  CONT 5-27-2020 9:30 AM
20-01379    BRYANT               CONT 5-27-2020 9:30 AM
20-01382    QUINN                CONT 5-27-2020 9:30 AM
20-01405    COLLIER              CONT 5-27-2020 9:30 AM
20-01411    CRIDDLE              CONT 5-27-2020 9:30 AM
20-00929    BARRON               HELD
20-01270    O'BRIEN              HELD
20-01275    GOLDSMITH            HELD
20-01295    THOMAS               HELD
20-01297    WILLIAMS             HELD
20-01304    COCKRELL             HELD
20-01308    COOK                 HELD
20-01319    YELLOCK              HELD
20-01337    TALLEY               HELD
20-01338    LEE                  HELD
20-01340    MURPHY               HELD
20-01342    BOWMAN               HELD
20-01343    STEELE               HELD
20-01344    JOHNSON              HELD
20-01345    HAYES                HELD
20-01346    DAVIS                HELD
20-01347    LORD                 HELD
20-01348    LINDER               HELD
20-01356    DAVIS                HELD
20-01360    AVERHART             HELD
20-01361    STEPHENS             HELD
20-01362    TILLISON             HELD
20-01366    SPAIN                HELD
20-01367    HENDERSON            HELD
20-01371    SHAY                 HELD
20-01373    BANKS                HELD
20-01374    ROGERS               HELD
20-01375    HOLBERT              HELD
20-01376    BANKS                HELD
20-01380    FALCONER             HELD
20-01384    ELLARD               HELD
20-01387    PRYOR                HELD
20-01388    CLAIBORNE            HELD
20-01390    RAGLAND              HELD
20-01397    ACOSTA               HELD
20-01398    TATE                 HELD
20-01404    DAVIS                HELD
20-01406    SIMS                 HELD
20-01409    DUBOSE               HELD
20-01410    JONES                HELD




Case 20-01344-DSC13   Doc 20    Filed 05/20/20 Entered 05/20/20 11:21:29   Desc Main
                               Document     Page 1 of 2
20-01416    MOORE                   HELD
20-01417    BROTHERS                HELD
20-01420    BAILEY                  HELD
19-04011    MARBURY                 NOT HELD
20-00444    LEWIS                   NOT HELD
20-00551    SMITH-HART              NOT HELD
20-00989    VINES                   NOT HELD




Case 20-01344-DSC13      Doc 20    Filed 05/20/20 Entered 05/20/20 11:21:29   Desc Main
                                  Document     Page 2 of 2
